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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

RICKEY L. J. HARRIS,

                Plaintiff,

       v.                                            Civil Case No. 8:18-cv-03854-GLS

ADVANTAGE LENDING, INC., DBA:
A-1 PAWNBROKERS 4 & 5, et al,

                Defendants.

                                   JOINT STATUS REPORT

       Plaintiff Rickey Lee Jared Harris (“Plaintiff”), by and through his undersigned counsel,

and Defendants Advantage Lending, Inc., D/B/A: A-1 Pawnbrokers 4 & 5 and Said Saab

(“Defendants”)(jointly “The Parties”), through their undersigned counsel, pursuant to the Court’s

Paperless Order Following Telephone Conference [ECF 50], hereby file their Joint Status

Report, and state the following:

                                       Status of Discovery

       Counsel for the parties have scheduled depositions of the party deponents to occur on July

27, 2021 and August 6, 2021, via remote deposition. During the Telephone Conference with the

Parties, held on January 28, 2021, Judge Simms indicated a willingness to re-evaluate allowing

the parties to conduct live depositions if circumstances regarding the COVID-19 pandemic had

changed when it was time to take the depositions.

       Counsel for the Defendants are again requesting the opportunity to conduct an in-person

deposition of the Plaintiff, for the same reasons previously outlined to the Court. Counsel for the

Plaintiff continues with their position that depositions should be conducted by remote means.

Counsel mutually understand the position of opposing counsel and hope that these matters can be


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reconciled. To that end, Defendants’ Counsel requests a telephone conference and opportunity to

submit a position letter to the court prior to said telephone conference on Defendant’s ability to

take the live deposition of Plaintiff. Plaintiff’s Counsel’s position is that in light of this Court’s

Order dated January 29, 2021 (ECF 48), no position statements or teleconferences are necessary,

and the depositions should proceed remotely as scheduled.

       Additionally, Counsel jointly propose modifying the Court’s existing deadlines as follows:

August 30, 2021                        Discovery deadline; submission of post-discovery joint
                                       status report

September 6, 2021                      Request for admissions

October 11, 2021                       Dispositive pretrial motions deadline.


Respectfully submitted,                                 Respectfully submitted,


    /s/                                                     /s/
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                                                        Counsel for Defendants Advantage
                                                        Lending, Inc., D/B/A: A-1 Pawnbrokers
                                                        4 & 5 and Said Saab



                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 12th day of July, 2021, a true and correct copy of the

foregoing was served through the CF/ECF system on all parties entitled to service.

                                                             /s/
                                                      By: T. Lee Beeman, Jr., Bar No. 19613
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